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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                               DEL RIO DIVISION

                                           §
MONICA M. GALLEGOS Individually as         §
Wrongful Death Beneficiary and as          §
Representative of the Estate of A.G.R.,    §
deceased minor,                            §
      Plaintiff,                           §
                                           §
v.                                         §
                                           §
JUAN MALDONADO, an individual;             §   C.A. No. 2:24-cv-00050-AM
CRIMSON ELIZONDO, an individual;           §
RICHARD BOGDANSKI, an individual;          §
LUKE WILLIAMS, an individual;              §
CHRISTOPHER KINDELL, an                    §
individual; JOEL BETANCOURT, an            §
individual; VICTOR ESCALON, an             §
individual; TEXAS DEPARTMENT OF            §
PUBLIC SAFETY DOES 1 through 84;           §
MANDY GUTIERREZ, an individual;            §
UVALDE CONSOLIDATED                        §
INDEPENDENT SCHOOL DISTRICT;               §
PEDRO "PETE" ARREDONDO, an                 §
individual; ADRIAN GONZALES, an            §
individual; JESUS "JJ" SUAREZ, an          §
individual; SCHNEIDER ELECTRIC             §
USA, INC.; and MOTOROLA SOLUTIONS,         §
INC.                                       §
     Defendants.                           §
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                                             ORDER

         Pending before the Court is Defendant Jesus “J.J.” Suarez’s Motion to Dismiss Plaintiff’s

Original Complaint. Upon consideration of the Motion, the Court is of the opinion that Defendant

Suarez’s Motion should be GRANTED.

         It is therefore ORDERED that Defendant Suarez’s Motion to Dismiss is GRANTED and

that all of Plaintiff’s claims and causes of action against Defendant Suarez are DISMISSED WITH

PREJUDICE.



         SIGNED on this _____ day of ___________, 2024.



                                      _________________________________________
                                      CHIEF U.S. DISTRICT JUDGE ALIA MOSES




4858-5044-3722, v. 1
